               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 20-5


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )           ORDER
                                            )
KEITH ARTHUR VINSON.                        )
                                            )
____________________________________        )


        THIS MATTER has come before the undersigned pursuant to a Motion to

Adopt Codefendant’s Motion (#154) filed by counsel for Defendant.           In the

motion, Defendant requests that he be allowed to adopt the motion filed by the co-

defendant Avery Cashion entitled “Motion to Compel Compliance with ESI

Protocols” (#153). It appears that good cause has been shown for the granting of

the motion and it further appears that the government does not object to the

motion.

                                    ORDER

        IT IS, THEREFORE, ORDERED that the Motion to Adopt Codefendat’s

Motion (#154) is hereby ALLOWED and the defendant Keith Arthur Vinson is

allowed to adopt the motion filed by defendant Avery Cashion entitled “Motion to

Compel Compliance with ESI Protocols” (#153).




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                                     Signed: March 22, 2013




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